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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

DISTRIBUTION INTELLIGENCE                    )
SYSTEMS, LLC,                                )
                                             )
             Plaintiff,                      )
                                             )
       v.                                    ) C.A. No. 23-523-JFM
                                             )
MEDACTA USA, INC.,                           )
                                             )
             Defendant.                      )

              PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL

      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff

Distribution Intelligence Systems, LLC hereby dismisses this action with

prejudice. Defendant Medacta USA, Inc. has not yet answered the Complaint or

moved for summary judgment.


Date: January 16, 2024                    Respectfully submitted,


                                          /s/ John C. Phillips, Jr.
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                SO ORDERED this ________ day of January, 2024.



                                  ________________________________
                                  UNITED STATES DISTRICT JUDGE




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